        Case 1:13-mc-00712-BAH Document 73-1 Filed 06/11/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  IN RE APPLICATION OF JASON
  LEOPOLD TO UNSEAL CERTAIN                         1:13-mc-00712-BAH
  ELECTRONIC SURVEILLANCE
  APPLICATIONS AND ORDERS




                            [PETITIONERS’ PROPOSED] ORDER

       This matter comes before the Court upon the Joint Status Report of the United States, by

and through its attorney, the United States Attorney for the District of Columbia (the

“Government”), and Petitioners Jason Leopold and the Reporters Committee for Freedom of the

Press (the “Reporters Committee”) (collectively “Petitioners”). Upon consideration of the Joint

Status Report and the entirety of the record before the Court in this matter, it is hereby

ORDERED as follows:

       (1) Within sixty (60) days of the date of this Order, the Government shall review, redact,

           and move to unseal all SCA and PRA materials subject to the D.C. Circuit’s mandate

           in In re Leopold to Unseal Certain Electronic Surveillance Applications and Orders,

           964 F.3d 1121 (D.C. Cir. 2020) (“Leopold”)—in accordance with that mandate and this

           Court’s February 9, 2021 Memorandum Opinion and Order—that were filed in this

           District from November 1, 2020 to the date of this Order;

       (2) The Government shall file a status report with the Court every thirty (30) days—rather

           than every sixty (60) days, as currently required—that includes a list of all of the sealed

           matters for which the Government has completed review and redactions and filed a

           motion to unseal since its last status report, with a proposed order that identifies by
      Case 1:13-mc-00712-BAH Document 73-1 Filed 06/11/21 Page 2 of 2




         docket entry the unredacted documents the Government asserts must remain under seal

         and the redacted versions of those documents;

      (3) The Government, in its next status report to the Court, shall propose a schedule to the

         Court for the unsealing of all remaining SCA and PRA materials subject to the Leopold

         mandate; and

      (4) The Government, as of thirty (30) days of the date of this Order, shall file all sealed

         PRA and SCA applications subject to the Leopold mandate with a redacted, public

         version, in accordance with the Government’s representations in its April 12, 2021

         status report to the Court, see ECF No. 72.



SO ORDERED this _________ day of ________________, 2021.


                                                   ____________________________
                                                   Hon. Beryl A. Howell
                                                   Chief Judge of the United States District
                                                   Court for the District of Columbia
